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                                No. 19-60662
                ___________________________________________

               IN THE UNITED STATES COURT OF APPEALS
                         FOR THE FIFTH CIRCUIT
                ___________________________________________

DENNIS HOPKINS, individually and on behalf of a class of all others similarly situated; HERMAN
  PARKER, JR., individually and on behalf of a class of all others similarly situated; WALTER
WAYNE KUHN, JR., individually and on behalf of a class of all others similarly situated; BYRON
 DEMOND COLEMAN, individually and on behalf of a class of all others similarly situated; JON
   O’NEAL, individually and on behalf of a class of all others similarly situated; EARNEST
       WILLHITE, individually and on behalf of a class of all others similarly situated,

                                     Plaintiffs-Appellees

                                             V.

         SECRETARY OF STATE DELBERT HOSEMANN, in his official capacity,

                                    Defendant-Appellant

                        (Continuation of Caption on Following Page)
                 _________________________________________

                     On Appeal from the United States District Court
                         for the Southern District of Mississippi
                  ________________________________________

RESPONSE AND REPLY BRIEF OF DEFENDANT-APPELLANT CROSS-
        APPELLEE SECRETARY OF STATE HOSEMANN

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______________________________


                               Consolidated with No. 19-60678

   DENNIS HOPKINS, individually and on behalf of a class of all others similarly situated;
 HERMAN PARKER, JR., individually and on behalf of a class of all others similarly situated;
  WALTER WAYNE KUHN, JR., individually and on behalf of a class of all others similarly
  situated; JON O'NEAL, individually and on behalf of a class of all others similarly situated;
  EARNEST WILLHITE, individually and on behalf of a class of all others similarly situated;
 BYRON DEMOND COLEMAN, individually and on behalf of a class of all others similarly
                                         situated,

                             Plaintiffs-Appellees Cross-Appellants

                                              V.

         SECRETARY OF STATE DELBERT HOSEMANN, in his official capacity,

                             Defendant-Appellant Cross-Appellee
______________________________




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                 CERTIFICATE OF INTERESTED PARTIES

               Case No. 19-60662 consolidated with No. 19-60678
      Undersigned counsel certifies that the following listed persons have an

interest in the outcome of this case. These representations are made so that the

judges of this Court may evaluate possible disqualification or recusal.

      1.     Dennis Hopkins, Herman Parker, Jr., Walter Wayne Kuhn Jr., Byron
             Demond Coleman, Jon O’Neal, and Earnest Willhite, Plaintiffs-
             Appellees Cross-Appellants;

      2.     Janet A. Gochman, Isaac Rethy, Jonathan K. Youngwood, Nihara
             Karim Choudhri, Tyler A. Anger, Simpson, Thacher & Bartlett, LLP,
             Attorneys for Plaintiffs-Appellees Cross-Appellants;

      3.     Paloma Wu, Lisa S. Graybill, Caren E. Short, Nancy G. Abudu, The
             Southern Poverty Law Center, Attorneys for Plaintiffs-Appellees
             Cross-Appellants;

      4.     Secretary of State Delbert Hosemann, in his official capacity,
             Defendant-Appellant Cross-Appellee;

      5.     Justin L. Matheny, Krissy C. Nobile, Mississippi Office of the Attorney
             General Attorney, Attorneys for Defendant-Appellant Cross-Appellee.

SO CERTIFIED, this the 8th day of November, 2019.

                                               /s/ Krissy C. Nobile
                                               Krissy C. Nobile




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                        RE-STATEMENT OF THE ISSUES

I.    Article 12, Section 253:

      1.     Do plaintiffs lack Article III standing and/or does the Eleventh

Amendment bar their claims when the Secretary of State is powerless to remedy

plaintiffs’ alleged injury because he does not enforce Section 253 or have any role

whatsoever in Section 253’s legislative process?

      2.     Does plaintiffs’ race-based equal protection challenge fail when: (i)

plaintiffs failed to prove that Section 253 has any present-day unconstitutional

effects or that the law is discriminatory in application, and (ii) Section 253, while

enacted in 1890, is not self-enforcing, and the Mississippi Legislature not only

endorsed the law in the 1980s, but a two-thirds majority of the Legislature endorses

the substance and procedure of Section 253 each time present-day legislators pass a

suffrage bill?

      3.     Does a discretionary vote restoration regime for convicted felons, like

Section 253, facially violate the Equal Protection Clause simply because it does not

contain specific standards?

      4.     Do convicted felons who have already lost the right to vote pursuant to

a State’s valid exercise of the affirmative sanction in Section 2 of the Fourteenth

Amendment still have a constitutionally protected “right to vote” under the more



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general terms of the First Amendment, and does Section 253’s reenfranchisement

scheme facially violate the First Amendment?

II.   Article 12, Section 241:

      1.     Does Article III and/or the Eleventh Amendment bar plaintiffs’ Section

241 claims when the Secretary lacks authority to register voters and/or compel local

election officials to register voters?

      2.     Does binding precedent foreclose plaintiffs’ non-racial equal protection

challenge to Section 241, and does the claim otherwise fail because plaintiffs’ novel

construction of Section 2 of the Fourteenth Amendment is erroneous?

      3.     Does plaintiffs’ Eighth Amendment facial challenge to felon

disenfranchisement fail when the exclusion of felons from the vote has an

affirmative sanction in Section 2 of the Fourteenth Amendment?

        SUMMARY OF THE RESPONSE AND REPLY ARGUMENT

      Over the course of 68 pages, plaintiffs do not cite—much less develop a legal

theory consistent with—binding felon disenfranchisement and reenfranchisement

cases. Rather than actually grapple with precedent like Richardson v. Ramirez, 418

U.S. 24 (1974), Beacham v. Braterman, 300 F. Supp. 182 (S.D. Fla. 1969), aff’d 396

U.S. 12 (1969), Shepherd v. Trevino, 575 F.2d 1110 (5th Cir. 1978), and/or Williams

v. Taylor, 677 F.2d 510 (5th Cir. 1982), plaintiffs simply contend those cases don’t

mean what they say.


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      Because there is no case that supports plaintiffs’ propositions of law, plaintiffs

pluck words from their defining context in pertinent authority, and transport those

words to a more expansive, more pliable, and more favorable setting—while

ignoring the defining context. For example, plaintiffs borrow language from First

Amendment “prior restraint” cases to argue that convicted felons who have already

lost the right to vote pursuant to Section 2 of the Fourteenth Amendment still have a

First Amendment “right to vote.”

      Neither logic nor caselaw supports the proposition that the First Amendment

gives back what the Fourteenth Amendment affirmatively sanctions a State to take

away. “[O]nce a felon is properly disenfranchised a state is at liberty to keep him in

that status indefinitely and never revisit that determination.” Harvey v. Brewer, 605

F.3d 1067, 1079 (9th Cir. 2010) (O’Connor, J., sitting by designation).

      Indeed, binding authority establishes that a state need not automatically

restore voting rights when felons complete their sentence, Richardson, 418 U.S. 24,

nor must a state’s discretionary vote restoration regime employ specific standards

susceptible of mechanical application under the Equal Protection Clause, Beacham,

300 F. Supp. at 182-84, aff’d 396 U.S. 12.

      All of plaintiffs’ constitutional challenges to Article 12, Sections 253 and 241

of the Mississippi Constitution fail. Their claims are not justiciable against the

Mississippi Secretary of State and, even if so, they are invalid.

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                                             ARGUMENT

I.        PLAINTIFFS LACK ARTICLE III STANDING FOR THEIR
          CONSTITUTIONAL CHALLENGES TO SECTION 253, AND THE
          ELEVENTH AMENDMENT BARS THEIR CLAIMS.

          Article III Standing.             Plaintiffs recognize that only the Mississippi

Legislature enforces Section 253. That is why plaintiffs’ constitutional challenges to

Section 253 center on the law’s “legislative process.” Hopkins Br. at 49, 53, 54; see

also Hopkins Br. at 56 (claiming that Section 253 needs additional “criteria for the

Mississippi Legislature to apply”) (emphasis supplied).

          Nevertheless, plaintiffs try to circumvent their traceability and redressability

problems by reformulating their claimed injury. Indeed, despite that the complaint’s

requested relief targets Section 253’s “legislative process,” ROA.19-60662.60,1

plaintiffs now claim that their injury is not the process—it is the “burden” of having

to “obtain the passage of a suffrage bill in order to regain the right to vote[.]”

Hopkins Br. at 23. But this newly-formulated injury only underscores why plaintiffs

lack standing.




           1
               Plaintiffs’ complaint only seeks the following relief to remedy their alleged Section 253
injury:
     [A] class-wide judgment declaring that the inherently arbitrary and racially
     discriminatory legislative process for the restoration of voting rights established by
     the suffrage bill provision of the Mississippi Constitution violates the Equal
     Protection Clause of the Fourteenth Amendment, as well as the First Amendment.
ROA.19-60662.60 (emphasis supplied).
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      The Secretary of State can do nothing to alleviate the purported “burden”

imposed by Section 253. And, most certainly, the Secretary cannot enact a legislative

suffrage bill. The Secretary consequently has no “definite responsibilities relating to

the application of the challenged law.” Hopkins Br. at 17 (quoting K.P. v. LeBlanc,

627 F.3d 115, 123 (5th Cir. 2010) (K.P. I) (emphasis supplied)); see also Okpalobi

v. Foster, 244 F.3d 405, 426-27 (5th Cir. 2001) (en banc); K.P. v. LeBlanc, 729 F.3d

427, 436-37 (5th Cir. 2013) (K.P. II). Indeed, Okpalobi, K.P. I, and K.P. II

demonstrate as much.

      By way of background, Louisiana passed its Medical Malpractice Act of 1975,

and created the Louisiana Patient’s Compensation Fund. In 1997, Louisiana passed

Act 825—the legislation at issue in Okpalobi and K.P. Subsection (A) of that Act

provides a cause of action arising from the performance of an abortion. Subsection

(C)(2), by contrast, indicates that the section falls outside the protections of the

Malpractice Act. K.P. II, 729 F.3d at 432, 436.

      In Okpalobi, healthcare providers sued the Attorney General and Governor to

enjoin Act 825. The en banc Fifth Circuit dismissed the case for lack of standing on

both traceability and redressability grounds. Okpalobi, 244 F.3d at 426-29. The

Court did so because, like the Secretary here, the Okpalobi defendants lacked

authority under state law to redress the injuries alleged. Id.




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        Thereafter, a provider’s (“K.P.”) abortion patient sued him in state court. A

group of providers again sued over Act 825—but this time they sued the executive

director of the Louisiana Patient’s Compensation Fund Oversight Board.

        In K.P. I, cited on pages 17-18 of plaintiffs’ brief, this Court reviewed “a

district court decision that dismissed the Providers’ entire suit on grounds of

immunity” at the motion to dismiss stage. See K.P. II, 729 F.3d at 437 (explaining

K.P. I) (emphasis in original). Then, in K.P. II, this Court clarified that although the

Board has responsibilities under Act 825, each subsection of the law, and each form

of relief sought, must separately be analyzed for standing purposes. Id. at 436-37

and n.49.

        The plaintiffs in K.P. II had standing to challenge subsection (C)(2) of the Act

because the Board has the responsibility of deciding whether or not an abortion

provider receives coverage for a claim. Id. at 437. In contrast, here, the Secretary of

State has no responsibility or ability to decide whether plaintiffs receive a suffrage

bill.

        Separately, the plaintiffs in K.P. II did not have standing as to subsection (A)

of the Act because the Board is not “charged under state law with enforcing” that

provision. Id. Similarly, here, the Secretary of State is not “charged under state law

with enforcing” Section 253. Therefore, as in K.P. II, “relief directed at the

[Secretary] will not readdress [plaintiffs’] injury.” Id.

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       Thus, under Okpalobi, K.P. I, and K.P. II, even if state officials have

responsibilities under portions of a challenged law—that doesn’t create plaintiffs’

standing to challenge the entire law. And, in this case, the Secretary has no

responsibilities under any portion of the challenged law (Section 253). Enjoining the

Secretary to enforce or not enforce Section 253, or to enforce that law differently,

will not affect whether plaintiffs obtain a suffrage bill. Nor will it alter plaintiffs’ so-

called “burden to obtain the passage of a suffrage bill.” Hopkins Br. at 23.

       In short, plaintiffs lack Article III standing because they seek relief that the

Secretary cannot provide for an alleged injury the Secretary did not cause.

       Eleventh Amendment. Plaintiffs’ Section 253 claims also fail the “some

enforcement connection” test. Because the Secretary of State is an executive branch

official, he cannot enforce Section 253. State law constitutionally commits the

enforcement of Section 253 to the legislative branch. MISS. CONST. art. 12, § 253

(“The Legislature may….”); art. 1, §§ 1, 2 (Mississippi’s separation of powers

provisions).

       Further, although the phrase “some connection” comes from Ex Parte Young,

plaintiffs ignore the operative verb that completes the rule. The required connection

is “some connection with the enforcement of the act,” not just “some connection”

with the law generally. Ex Parte Young, 209 U.S. 123, 157 (1908) (emphasis

supplied).

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      Indeed, plaintiffs cite four cases on page 26 of their brief for the proposition

that standing exists simply because the Secretary is the State’s “chief election

officer.” But, in all of plaintiffs’ cases, the challenged laws required a Secretary of

State to actually implement the law at issue. The Eleventh Amendment thus wasn’t

satisfied just because the defendants were the “chief election officer,” or just because

they had some connection to the law generally.

      Along the same lines, plaintiffs incorrectly contend that “Okpalobi has no

relevance here” because the Secretary is the “chief election officer.” Hopkins Br. at

21. Okpalobi and its progeny reiterate the Article III and Eleventh Amendment

standards—and those standards are not satisfied here.

II.   PLAINTIFFS’ RACE-BASED EQUAL PROTECTION CHALLENGE
      TO SECTION 253 FAILS AS A MATTER OF LAW.

      Section 253 provides one of the State’s discretionary mechanisms for felons

to regain suffrage; it does not operate to deny plaintiffs the right to vote. Instead,

Section 253, like the gubernatorial pardon, is only the “power to extend mercy.”

Herrera v. Collins, 506 U.S. 390, 412 (1993).

      Further, Section 253 is facially-neutral, and it simply authorizes (but does not

mandate) present-day Mississippi legislators to exercise their authority to pass

suffrage bills. Because Section 253 is not self-enforcing, the constitutional provision

does not, on its own, do anything. As a result, and especially absent any evidence of

disproportionate effects, how present-day legislators exercise their discretionary
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authority to issue suffrage bills is critical for equal protection purposes. See Yick Wo

v. Hopkins, 118 U.S. 356, 373-74 (1886).

      While plaintiffs argue that they need not prove discriminatory application of

the law, their argument misses the point. Hopkins Br. at 67-68. Plaintiffs’ problem

is that they have failed to prove either discriminatory effects of Section 253 or that

Section 253 is discriminatory in application.

      Turning first to discriminatory effects, plaintiffs admit they have no proof that

Section 253, in present day, disproportionately impacts minorities. Instead, their

only proof of disproportionate effect is that, as convicted felons, they are “subject

to” Section 253 in the first instance. Hopkins Br. at 67. That gets the effects analysis

all wrong.

      Under plaintiffs’ view of equal protection, the pardon power also would be

unconstitutional since plaintiffs are “subject to” it too. In fact, all vote restoration

regimes in most states could be unconstitutional because convicted felons are subject

to those laws as well, and disenfranchisement laws in other states also allegedly have

a “disparate impact on Blacks and Latinos.” Hayden v. Paterson, 594 F.3d 150, 159-

160 (2d Cir. 2010).

      If convicted felons were not subject to a state’s vote restoration laws, they

would never have the opportunity to regain suffrage under those laws. So, plaintiffs’

argument is actually counterintuitive. If vote restoration laws are unconstitutional

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because convicted felons are “subject to” them, there simply will be no vote

restoration laws—and plaintiffs will remain disenfranchised.

      Plus, plaintiffs have not brought a race-based equal protection challenge to

disenfranchisement; they assert a facial challenge to reenfranchisement. Thus, the

claim plaintiffs brought is the one they must prove. But plaintiffs never bothered to

analyze the purported “unconstitutional effects” of Section 253. And, had they done

so, the analysis might not fit the narrative plaintiffs want to advance.

      In fact, the present-day Mississippi Legislature may provide more suffrage

bills to African-Americans than to Caucasians. Or maybe minorities and non-

minorities proportionately receive the same quantity of suffrage bills. Under

plaintiffs’ flawed equal protection theory, though, none of that matters.

      Additionally, Section 253 requires present-day legislators to exercise their

discretionary authority to grant a suffrage bill for the law to have any effects at all.

Therefore, how state officials exercise their discretionary authority to restore

suffrage matters here. Indeed, “[i]ndividual acts of clemency inherently call for

discriminating choices because no two cases are the same.” Schick v. Reed, 419 U.S.

256, 268 (1974); Hand v. Scott, 888 F.3d 1206, 1209 (11th Cir. 2018) (quoting Conn.

Bd. of Pardons v. Dumschat, 452 U.S. 458, 464-66 (1981)).

      A similar analysis, in fact, applies in the criminal sentencing context, where

different outcomes frequently result between defendants who might appear, in some

                                           10
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ways, to be similarly situated. Nevertheless, sentencing disparities alone do not

establish an equal-protection claim. Jones v. White, 992 F.2d 1548, 1571-75 (11th

Cir. 1993). The Supreme Court has reached the same conclusion in rejecting Eighth

Amendment challenges to death sentences in McCleskey v. Kemp, 481 U.S. 279,

306-07 (1987).

       Despite this, the plaintiffs here never attempted to prove any present-day

disproportionate effects of Section 253—let alone did they compare any similarly-

situated convicted felons, or otherwise prove discriminatory application of the law.

In fact, the allegations concerning plaintiff Herman Parker not receiving a suffrage

bill only prove why plaintiffs’ facial challenge fails. Plaintiffs contend that there is

no “rational basis for the Mississippi Legislature’s failure to pass a proposed suffrage

bill” to plaintiff Parker. Hopkins Br. at 53. However, this is a facial challenge to

reenfranchisement, and plaintiffs otherwise get the constitutional paradigm

backwards.

       The law doesn’t entitle any convicted felon to a suffrage bill. Nor does the

law entitle a felon to a pardon or to have rights under the Second Amendment

restored.2 Correspondingly, plaintiff Parker does not allege (much less prove) that




        2
          Federal law prohibits the possession of a firearm for anyone indicted for or convicted of
a felony punishable by imprisonment for one year or more. 18 U.S.C. § 922(d)(1), (g)(1). Federal
law also bars those who have a “charge pending” or have been convicted of a crime punishable by
imprisonment for one year or more from serving on a jury. 28 U.S.C. § 1865(b)(5).
                                                11
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present-day legislators refused to exercise their discretionary authority based on any

impermissible motives such as race. Nor does plaintiff Parker even attempt to

compare his situation with any other similarly-situated convicted felon.

      As a result, plaintiffs’ equal protection claim fails for lack of proof that

Section 253 has any present-day discriminatory effects or that the law has been

applied in a discriminatory fashion.

      Plaintiffs’ claim also fails for other reasons. They contend that Section 253 is

unconstitutional solely because it was enacted in 1890. However, plaintiffs now

concede that there is (and was) a “race-neutral justification for Section 253.”

Hopkins Br. at 61. No matter: plaintiffs also now contend that the Court should

determine whether race-neutral statements from state officials 129 years ago were

“pretextual” under the framework for Batson challenges. Hopkins Br. at 61. But

plaintiffs’ new pretext angle is just another way of saying that Section 253 is

unconstitutional solely because it was enacted in 1890.

      Many provisions in Mississippi law read the same today as they did in 1890,

including Mississippi’s separation of powers doctrine and the executive’s pardon

power. So, while it is a truism that a few long-ago (and long-since invalidated) laws

were enacted with discriminatory intent in 1890—that doesn’t mean all laws were,

especially absent proof of such.




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       More importantly, though, plaintiffs still refuse to grapple with the fact that

Section 253 is not self-enforcing. But this is critical to an analysis of “the enactment

and operation” of the law. Hunter v. Underwood, 471 U.S. 222, 233 (1985).

Plaintiffs incorrectly claim that the Secretary asserted that argument for the first time

on appeal. But the Secretary has always contended that “Section 253 is a device that

requires the action of a decision-making body (i.e., the legislature) to be implicated

at all.” E.g., ROA.19-60662.4299.

       Present-day legislators’ endorsement of Section 253, and the present-day

exercise of their authority to pass suffrage bills, is a critical part of the analysis. See,

e.g., Hayden, 594 F.3d at 168-69 (“The 1894 constitutional provision…simply

authorize[s] the New York legislature to enact felon disenfranchisement laws. That

is, the constitutional provision does not operate to deny plaintiffs the right to

vote, rather the statutory enactment pursuant to the constitutional provision does.”)

(emphasis supplied).

       Comparing the executive pardon power is illustrative. Similar to the Federal

Constitution, the Mississippi Constitution provides the Governor with the “power to

grant…pardons.” MISS. CONST. Art. 5, § 124. However, because Section 124 is also

not self-enforcing, a challenge to the exercise of the pardon power can only hinge

on the present-day executive’s exercise of his authority to grant or deny a pardon.




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       So, hypothetically speaking, if the Governor expressly refused to grant a

pardon solely for racial reasons, Section 124 would not be unconstitutional. Instead,

the constitutional challenge would be to the executive’s implementation of a

facially-neutral law in a discriminatory fashion. The same is true as to Section 253.

       Indeed, as the district court recognized, plaintiffs must demonstrate that

Section 253 is “applied in a discriminatory way,” ROA.19-60662.4882, or at least

prove that the law “continues to have [an unconstitutional] effect,” ROA.19-

60662.4866. But because plaintiffs failed to prove these elements as a matter of law,

the district court erred in not granting summary judgment to the Secretary.

III.   SECTION 253 IS NOT FACIALLY UNCONSTITUTIONAL UNDER
       THE EQUAL PROTECTION CLAUSE.

       A discretionary vote restoration process is not violative of equal protection

simply because it lacks specific standards. ROA.19-60662.4880-4882 (District

Court Opinion) (collecting cases). Of course, though, state officials making

reenfranchisement determinations are still subject to generally applicable laws

prohibiting various kinds of malfeasance, including laws barring invidious

discrimination.

       Equal protection constrains reenfranchisement authority—such as when a

reenfranchisement system on its face draws a classification, like the one upheld in

Shepherd, 575 F.2d at 1114-1115; or when a plaintiff proves that officials have



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“administer[ed] a statute, fair on its face, with an unequal hand,” as in Williams, 677

F.2d at 516.

      Section 253, however, draws no classification on its face, and plaintiffs never

proved that legislators selectively and arbitrarily implemented Section 253.

Although plaintiffs allege that Section 253 creates a “risk” of discrimination, this is

insufficient. That same “risk” of disparate treatment was present in cases in which

the Supreme Court approved discretionary clemency decisions. E.g., Dumschat, 452

U.S. at 463-67; Beacham, 300 F. Supp. at 184, aff’d 396 U.S. 12.

      Further, plaintiffs’ deeply-flawed position incorrectly presumes that state

officials will exercise their discretionary constitutional authority arbitrarily. But

courts never presume that state officials will exercise their constitutional authority

in violation of the Equal Protection Clause. E.g., Foley v. Beshear, 462 S.W.3d 389,

395 (Ky. 2015).

      Similarly, plaintiffs wrongly maintain that the district court erred by relying

on Beacham and Hand because those decisions involved executive branch officials

exercising their authority under state law—as opposed to legislative branch officials

exercising their authority. Hopkins Br. at 49-51. The distinction plaintiffs attempt to

draw is an artificial one, as Section 253 is indistinguishable from other vote

restoration regimes in that it is discretionary and not required by federal law.




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       What’s more, the upshot of plaintiffs’ argument is that reenfranchisement

authority may only be vested in the executive. This proves too much though.

Plaintiffs are correct that the U.S. Constitution gives the President the power to grant

reprieves and pardons. But the U.S. Constitution does not vest state officials with

any state-law vote restoration authority—instead, Mississippi law does.

      In Mississippi, the State Constitution separately vests both executive and

legislative officials with discretionary authority to restore suffrage to convicted

felons. Nothing in the U.S. Constitution prohibits that. As far as federal law is

concerned, the State need not have any vote restoration regime.

      Further, plaintiffs’ contention that this Court in Shepherd “confirmed” that

“Beacham and Hand do not apply to reenfranchisement laws” is illogical. Hopkins

Br. at 50. For starters, Beacham and Hand both rejected equal protection challenges

to reenfranchisement laws, and Hand was decided 40 years after Shepherd. As to

Beacham, though, plaintiffs contend that because this Court in Shepherd didn’t cite

to Beacham, that case somehow is inapplicable. Plaintiffs overlook the law at issue

in Shepherd and otherwise miss the point.

      The reenfranchisement system in Shepherd drew a classification on the face

of the law: applicants sentenced by state judges, but not those sentenced by federal

judges, could petition the governor or their sentencing judge for reenfranchisement.




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Shepherd, 575 F.2d at 1112. Although the Texas law drew such a classification on

the face of the law, this Court upheld it. Id. at 1115.

      In contrast to Texas’s law, Section 253 is facially neutral, and it does not

provide for the reenfranchisement of some convicted felons and not others. It

provides for the reenfranchisement of any convicted felon who has been

disenfranchised under state law—at the Legislature’s discretion.

      Plaintiffs’ equal protection challenge here is thus much weaker than in

Shepherd because Mississippi’s law facially draws no classification among

applicants. And, in this regard, Beacham and Hand are directly on point. Hand, 888

F.3d at 1210; Beacham, 300 F. Supp. at 184.

      Moreover, Shepherd instructs that the thrust of plaintiffs’ challenge to Section

253—i.e., the case-by-case nature of Mississippi’s reenfranchisement regime—is an

equal-protection-honoring feature, not an equal-protection-violating problem.

Shepherd, 575 F.2d at 1115. In fact, unless States are outright barred from

disenfranchising convicted felons, there always will be some convicted felons who

regain suffrage and others who do not—including felons who are incarcerated and

those who are not.

      In a similar vein, plaintiffs are wrong to contend that Section 253 is

“inherently arbitrary” because it “establishes no standards for distinguishing

between” felons who should be reenfranchised and those who remain

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disenfranchised. Hopkins Br. at 54-55. If anything, that argument admits that

Section 253 does not itself draw any classifications or make any distinctions between

groups of disenfranchised felons—which undermines plaintiffs’ facial challenge.

       It also is inaccurate to say that a standardless process for determining which

felons should be reenfranchised necessarily results in arbitrary or discriminatory

decision-making. At most, Section 253 creates a risk of disparate treatment. But the

“‘risk’       that   standardless   determinations       ‘could’    lead    to    impermissible

discrimination…is not enough to show a discriminatory purpose or effect.” Hand,

888 F.3d at 1210. This Court’s Williams decision is instructive on this point.

       In Williams, this Court found that an Election Board’s failure to comply with

the statutory procedure for disenfranchising felons may have resulted in “selective

enforcement,” and therefore remanded the case for the plaintiff to have an

opportunity “to prove his claim of selective and arbitrary enforcement of the

disenfranchisement procedure.” 677 F.2d at 516-17. This Court reasoned that a state

may not make “a completely arbitrary distinction between groups of felons so as to

work a denial of equal protection with respect to the right to vote when it administers

a statute, fair on its face, with an unequal hand.” Williams, 677 F.2d at 516

(emphasis supplied) (citing Yick Wo).3



          3
           See also Johnson v. Rodriguez, 110 F.3d 299, 306 (5th Cir. 1997) (“State actors may
create classifications facially, when such categorization appears in the language of legislation. .
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       Thus, the law in Williams did not violate equal protection for lack of objective

standards. Instead, as the district court correctly put it, Williams “asked whether the

plaintiff had been treated differently[.]” ROA.19-60662.4881.

       Next, plaintiffs stray even further afield by relying on Browning Ferris

Industries of Alabama, Inc. v. Pegues, 710 F. Supp. 313 (M.D. Ala. 1987). Hopkins

Br. at 54. That case involved a commercial regulatory statute related to hazardous

waste treatment facilities, and a suit was brought challenging the statute as

unconstitutional under the Due Process, Equal Protection, and Commerce Clauses.

       In citing to Browning-Ferris, the plaintiffs here rely exclusively on the court’s

discussion of due process. Id. at 315-16 (“Commercial regulatory statutes are

impermissibly vague if they provide no rule or standard at all[.]”) (internal citation

omitted). And, for its analysis, Browning-Ferris relied on this Court’s due process

decision in Hornsby v. Allen, 326 F.2d 605 (5th Cir. 1964). See Maher v. City of New

Orleans, 516 F.2d 1051, 1063 n.60 (5th Cir. 1975) (noting that in Hornsby, a

successful attack was “mounted on the denial of [a] liquor permit[ ], because “the

unfettered, unreviewable power granted the agency in th[at] situation[ ] offended

due process”); Leib v. Hillsborough County Public Transp. Com’n, 558 F.3d 1301,

1309 (11th Cir. 2009) (explaining “the gravamen of a void-for-vagueness claim”);




.or de facto, through the enforcement of a facially neutral law in a manner so as to disparately
impact a discernible group.”) (emphasis supplied).
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Women’s Med. Ctr. of Nw. Houston v. Bell, 248 F.3d 411, 421 (5th Cir. 2001) (“‘[A]

state’s legislative enactment is void for vagueness under the due process clause…if

it ‘is inherently standardless[.]’” (emphasis supplied, citation omitted)).

       Here, plaintiffs have no due process claim challenging Section 253 as being

standardless or void-for-vagueness.4 And plaintiffs are wrong in cross-pollinating

the standards for due process with equal protection. See Hope For Families &

Community Service, Inc. v. Warren, 721 F. Supp. 2d 1079, 1143–44 (M.D. Ala.

2010) (rejecting an attempt to conflate due process and equal protection and

reasoning that “Plaintiffs’ argument is grounded in the wrong provision of the

Fourteenth Amendment”). In fact, even though the statute in Browning-Ferris was

“complete[ly] absen[t] of standards,” the court held that it did not violate equal

protection. 710 F. Supp. at 314, 316-17.

       The decision in Davis v. Schnell, 81 F. Supp. 872 (S.D. Ala. 1949), while

generally instructive, doesn’t improve plaintiffs’ claim here. See Hopkins Br. at 55.

In Davis, African-American plaintiffs challenged the constitutionality of the

“Boswell Amendment,” which amended Alabama’s literacy test for voter

registration. Id. at 874.



        4
           Plaintiffs don’t bring such a claim because they don’t have a cognizable due process
claim to bring. Johnson, 110 F.3d at 308 (“The protections of the Due Process Clause are only
invoked when State procedures…imperil a protected liberty or property interest.”) (emphasis
supplied).

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      Unlike in this case, the Davis plaintiffs demonstrated that the law had a racial

intent and that its provisions were “being administered so as to prevent the plaintiffs

and others, because of their race, from exercising their right to vote.” Id. at 874; id.

at 874-75 (“[D]efendants refused to register plaintiffs…while at the same time

defendants were registering white applicants with less qualifications[.]”) (emphasis

supplied); id. at 877-78 (relying on Yick Wo).

      Additionally, plaintiffs’ arguments would make a mess of the law and spawn

serious anomalies. For example, all states but two generally forbid incarcerated

felons from voting. Only Maine and Vermont, marked in green in the map below,

allow felons to vote while in prison. The other 48 states, marked in red, generally

don’t allow incarcerated felons to vote unless they regain suffrage under a

discretionary vote restoration regime while in prison. ROA.19-60662.4092-4143,

4144-4247.

      Thus, if it is facially unconstitutional for a state legislature to have discretion

when deciding whether to pass a bill that would restore suffrage, then most—if not

all—of the 48 states that deny the vote to some or all convicted felons have

unconstitutional vote restoration systems.




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       Map 1: Voting Rights Suspended During Incarceration—Subject to
       Restoration Through Discretionary Vote Restoration Process




       Plus, at least as of October 2018, nearly every state allows for discretion not

only in the restoration of the right to vote before and/or after incarceration—but also

for other forms of official clemency. ROA.19-60662.4144-4247.5 The following

map illustrates as much:




        5
          ROA.19-60662.4144-4247 is the addendum to the amicus brief filed by the States of
Missouri, Alabama, Kansas, Louisiana, Michigan, South Carolina, Texas, and Utah in litigation in
concerning Florida’s reenfranchisement scheme. The amicus brief was filed in mid-2018, and the
Secretary’s summary judgment memoranda in this case was filed in October 2018.
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      Map 2: Discretionary Restoration of Full Rights for Felons




      If the absence of a codified and mechanical test renders Section 253

facially invalid, why would it not also prove fatal for other kinds of clemency

decisions, including whether to commute a death sentence, grant a liberty-conferring

pardon, or restore a convicted felon’s Second Amendment right? Any equal-

protection analysis of such rights-restoration regimes would follow the same

contours as an equal-protection analysis here.

      But “section 2 of the fourteenth amendment blunts the full force of section 1’s

equal protection clause with respect to the voting rights of felons.” Shepherd, 575

F.2d at 1114. Further, the State “properly has an interest in excluding from the

franchise persons who have manifested a fundamental antipathy to the criminal laws



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of the state or of the nation by violating those laws sufficiently important to be

classed as felonies.” Id.

         As Judge Friendly put it, someone “who breaks the laws” may “fairly have

been thought to have abandoned the right to participate” in making them. Green v.

Board of Elections, 380 F.2d 445, 451 (2d Cir. 1967). The idea “could well have

rested on Locke’s concept” of the social compact, “so influential at the time.” Id. Put

differently, those who would make the laws for others and participate in self-

government should be willing to follow those laws themselves. Mississippi’s case-

by-case approach to vote restoration is rationally related to those interests. Shepherd,

575 F.2d at 1115.

         Accordingly, it is not and cannot be irrational for a vote restoration system to

be discretionary. Well-settled caselaw holds that discretion is a defining

characteristics of such a system—be it executive clemency or a legislative suffrage

bill.6

IV.      SECTION 253’S REENFRANCHISEMENT REGIME IS NOT
         FACIALLY INVALID UNDER THE FIRST AMENDMENT.

         Plaintiffs’ invocation of the First Amendment does nothing to improve their

constitutional challenge to Section 253. Indeed, because “the exclusion of felons




        Smith v. Snow, 722 F.2d 630, 632 (11th Cir. 1983) (“If one has no right to procedures, the
         6

purpose of which is to prevent arbitrariness and curb discretion, then one clearly has no right to
challenge the fact that the decision is discretionary.”).
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from the vote has an affirmative sanction in § 2 of the Fourteenth

Amendment,” Richardson, 418 U.S. at 54, “[i]t is clear that the First

Amendment does not guarantee felons the right to vote,” Johnson, 214 F. Supp. 2d

1333, 1338 (S.D. Fla. 2002) (emphasis supplied), aff’d 405 F.3d 1214 (en banc). Nor

does the First Amendment guarantee convicted felons any opportunity to apply for—

much less receive—an executive pardon or a suffrage bill from the Legislature.

      Nonetheless, plaintiffs contend that the district court erred in dismissing their

claim because plaintiffs are not “challenging a disenfranchisement law on First

Amendment grounds.” Hopkins Br. at 55. That just proves the whole point.

Convicted felons who have already lost the “right to vote” pursuant to a State’s valid

exercise of the affirmative sanction in Section 2 of the Fourteenth Amendment do

not still have a constitutionally protected “right to vote” under the more general

terms of the First Amendment.

      As the district court aptly reasoned, the First Amendment “provides no greater

protection for voting rights than is otherwise found in the Fourteenth Amendment.”

ROA.19-60662.4879; Hand, 888 F.3d at 1207, 1209; id. at 1112 (noting that it is

“pretty clear that, in a reenfranchisement case, the specific language of the

Fourteenth Amendment controls over the First Amendment’s more general terms”);




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Burton v. City of Belle Glade, 178 F.3d 1175, 1187 n.9 (11th Cir. 1999).7 In fact, the

Fourteenth Amendment is the only reason the First Amendment applies to the States.

Lovell v. City of Griffin, Ga., 303 U.S. 444, 450 (1938).

        Relying on this Court’s decision in Shepherd, the Eleventh Circuit recently

explained:

        While a discretionary felon-reenfranchisement scheme that was facially
        or intentionally designed to discriminate based on viewpoint—say, for
        example, by barring Democrats, Republicans, or socialists from
        reenfranchisement on account of their political affiliation—might
        violate the First Amendment, cf. Hunter, 471 U.S. at 227–28; Shepherd
        v. Trevino, 575 F.2d 1110, 1114 (5th Cir. 1978), no such showing has
        been made in this case.

Hand, 888 F.3d at 1211-12 (emphasis supplied).8 Plaintiffs made no such showing

here either. Yet a party seeking relief for alleged discrimination must plead and

prove such a claim—not invoke the mere “risk” of discrimination as cause for

striking down presumptively valid state laws.

        No court has held that convicted felons who have lost the right to vote still

have a right to vote under the First Amendment. See, e.g., Howard v. Gilmore, 205

F.3d 1333, 2000 WL 203984, at *1 (4th Cir. 2000) (unpublished table) (“The First


        7
           Cf. Graham v. Connor, 490 U.S. 386, 395 (1989); Cty. of Sacramento v. Lewis, 523 U.S.
833, 843 (1998).
          8
            Plaintiffs wrongly say the Hand decision is “inapposite.” Hopkins Br. at 55. Yet, in the
district court, plaintiffs cited that decision in support of their claim. When citing to Hand, however,
plaintiffs omitted key parts of the decision. As the district court noted: “Plaintiffs’ use of an ellipses
is at best suspect, and they never acknowledge that the Hand court rejected their argument.”
ROA.19-60662.4879.

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Amendment creates no private right of action for seeking reinstatement of previously

canceled voting rights.”); Johnson, 214 F. Supp. 2d at 1338; Hayden v. Pataki, No.-

00-Civ.-8586, 2004 WL 1335921, at *6 (S.D.N.Y. 2004) (“[T]he case law is clear

that the First Amendment does not guarantee felons the right to vote.”).

       It is thus no answer to cite inapposite First Amendment cases disapproving of

rules that make the peaceful enjoyment of freedoms which the Constitution

guarantees contingent upon the uncontrolled will of an official. For instance, on

pages 56-57 of their brief, plaintiffs turn to cases such as Forsyth County v.

Nationalist Movement, 505 U.S. 123 (1992) and City of Lakewood v. Plain Dealer

Publ’g Co., 486 U.S. 750 (1988). Those cases simply establish the longstanding, but

here unremarkable, point that a state cannot vest officials with unlimited discretion

to grant or deny licenses as a condition of engaging in protected First Amendment

activity.

       For instance, Forsyth County discussed an ordinance that granted officials

with boundless authority to authorize or forbid, and assess fees on, “public speaking,

parades, or assemblies in the archetype of a traditional public forum,” which the

Supreme Court deemed a “prior restraint on speech.” 505 U.S. at 130 (emphasis

supplied, quotation omitted). Likewise, City of Lakewood involved a licensing

statute that reposed in the government the unbridled power to permit or deny the




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placement of newspaper-dispensing devices on public sidewalks. 486 U.S. at 753.

There too, the Court struck down the statute as a “prior restraint.” Id. at 757.

       But a vote restoration process for convicted felons to potentially regain

suffrage is not a “prior restraint” on “fragile First Amendment rights [that can be]

lost or prejudiced by delay.” Bernard v. Gulf Oil Co., 619 F.2d 459, 467-69 (5th Cir.

1980) (en banc). Indeed, under plaintiffs’ theory, pardons also would constitute a

prior restraint.

       However, granting a discretionary suffrage bill, like a pardon, only can have

the effect of restoring rights lost due to a state’s valid exercise of the affirmative

sanction in Section 2 of the Fourteenth Amendment. Consequently, granting a

suffrage bill that has the effect of restoring a convicted felon’s rights is not a

“permit” or “license” for purposes of pertinent First Amendment jurisprudence—

just as a liberty-conferring pardon is not a “permit” or “license” to attend a protest

outside a prison’s walls or to run for political office.9

       Indeed, even if properly-sued state officials were enjoined from enforcing

Section 253, plaintiffs still would not have the right to vote. If this Court enjoined




         9
           A convicted felon who has lost the right to vote is not operating under a “prior restraint.”
Yet even if the law were otherwise, any such “prior restraint” would be attributable to the loss of
voting rights to which convicted felons are permissibly subject, not to the absence of a subsequent
and discretionary pardon or suffrage bill. Snow, 722 F.2d at 632; Madison v. State, 163 P.3d 757,
771 (Wash. 2007) (“[I]t is not Washington’s re-enfranchisement statute that denies felons the right
to vote[.]”).
                                                  28
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the enforcement of Section 253, there simply wouldn’t be a legislative

reenfranchisement process for convicted felons at all.

       Because a state is not required to have any vote restoration process for

convicted felons, Harvey, 605 F.3d at 1079, plaintiffs’ reliance on cases addressing

prior restraints on speech is fundamentally flawed. A right lawfully removed cannot

be unlawfully restrained.10

       Furthermore, if the First Amendment protects felons’ rights to vote, on the

theory that everyone has a “First Amendment right to vote,” many other voting

restrictions could be subject to First Amendment attack. After all, the First

Amendment arguably protects the rights of expression and association for children,

Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 506 (1969) (“First

Amendment rights…are available to teachers and students.”); for non-citizens,

Bridges v. Wixon, 326 U.S. 135, 148 (1945) (“Freedom of speech and of press is

accorded aliens residing in this country.”); for people acting anonymously, McIntyre

v. Ohio Elections Comm’n, 514 U.S. 334, 341 (1995) (“[A]n author’s decision to

remain anonymous…is an aspect of the freedom of speech protected by the First




        10
          Mississippi’s disenfranchisement and reenfranchisement laws do not prevent plaintiffs
from engaging in any kind of protected speech. For example, plaintiffs are free to speak their
minds, publish articles, petition policymakers for a redress of grievances, and otherwise express
their views on matters of public concern. What they may not do, the only thing they may not do,
is engage in certain conduct—i.e., voting—that is, as to them, constitutionally
unprotected. Richardson, 418 U.S. at 54-55; accord Harvey, 605 F.3d at 1079.
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Amendment.”); and (possibly) for the mentally incompetent, Washington v. Harper,

494 U.S. 210, 218 n.5 (1990) (reserving issue).

       But, under precedent, none of these groups has the right to vote,11 just as,

under the Fourteenth Amendment, a lawfully convicted felon has no voting rights.

Richardson, 418 U.S. at 54.

V.     PLAINTIFFS LACK ARTICLE III STANDING, AND THE
       ELEVENTH AMENDMENT BARS THEIR SECTION 241 CLAIMS.

       Plaintiffs’ standing and Eleventh Amendment arguments for purposes of

Section 241 boil down to whether the Secretary is a proper defendant because of his

designation as Mississippi’s “chief election officer.” For that proposition, plaintiffs

rely on OCA-Greater Houston v. Texas, 867 F.3d 604, 613 (5th Cir. 2017). However,

the Texas law at issue in OCA-Greater Houston differs materially from Mississippi

law.

       Under pertinent Texas state law, the Texas Secretary of State “is instructed by

statute to ‘obtain and maintain uniformity in the application, operation, and

interpretation of this code and of the election laws outside this code.’” Id. at 613-14.

In this case, plaintiffs have not identified any similar directive under Mississippi law




        11
            Indeed, a convicted felon who has lost the right the vote is no more subject to a “prior
restraint” than a minor who has not yet gained the right to vote. Other examples exist as well. For
instance, one-person-one-vote isn’t implicated with respect to appointed school boards. Sailors v.
Board of Educ. of Kent County, 387 U.S. 105 (1967).
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as to Section 241. Moreover, OCA-Greater Houston involved a VRA claim—thus,

the Eleventh Amendment posed no barrier. Id. at 614.

       Plaintiffs also cite to K.P. I where the Louisiana Board was a proper defendant

because the Louisiana law “require[d] the Board to differentiate between claims

allowable and not allowable under the statute.” Hopkins Br. at 27. According to

plaintiffs, the Secretary is required “to differentiate between previously

disenfranchised individuals who have regained the right to vote, and other

individuals convicted of disenfranchising felonies who remain ineligible to vote, in

the state’s voter registration application and the Secretary’s instructions to county

election commissioners.” Hopkins Br. at 27.

       But this is an inapt comparison for purposes of Section 241.12 Indeed, the

Secretary simply repeating what the law is on the registration application, and/or

telling local officials what the law is, does not equate to deciding whether or not an

abortion doctor gets coverage from a med-mal fund for a claim, as in the K.P.

decisions.




        12
          In contrast, the Secretary of State is actually “named in [Article V, Section 140 of the
Mississippi Constitution] and ha[s] specific…duties related to [that provision].” McLemore v.
Hosemann, 3:19-CV-383-DPJ-FKB, 2019 WL 5684512, at *5 (S.D. Miss. Nov. 1, 2019).

                                               31
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VI.   RICHARDSON V. RAMIREZ FORECLOSES PLAINTIFFS’ NON-
      RACIAL EQUAL PROTECTION CHALLENGE TO SECTION 241,
      AND THE CLAIM OTHERWISE FAILS ON ITS OWN TERMS.

      The Constitution generally commits voting regulation to the States. See U.S.

CONST. Art. I, § 4, cl. 1; U.S. CONST. Art. I, § 2, cl.1 (Qualifications). Although the

Constitution forbids the exclusion of voters on specific grounds, such as race, sex,

and age, see U.S. CONST. amends. XV (race); XIX (sex); XXVI (age), Section 2 of

the Fourteenth Amendment expressly recognizes the States’ power to disenfranchise

felons.

      For at least two reasons, the district court correctly rejected plaintiffs’

contention that permanent disenfranchisement is impermissible under any

circumstances and for any felony. First, as the district court reasoned, Richardson’s

“holding is squarely on point.” ROA.19-60662.4876-4877. Second, plaintiffs’

construction of Section 2 of the Fourteenth Amendment is otherwise flawed.

      A.     Richardson’s holding is squarely on point.

      Plaintiffs contend that Section 241 is unconstitutional because states only may

“temporarily abridge[ ]” a convicted felon’s right to vote. Hopkins Br. at 48.

According to plaintiffs, permanent disenfranchisement isn’t permissible for any

felony, and “[s]trict scrutiny review therefore applies.” Hopkins Br. at 48.

      Yet, as the district court put it, “[t]he plaintiffs in Richardson [ ] said the same

thing.” ROA.19-60662.4875. Richardson involved a group of convicted felons who

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had served the entirety of their sentences but were barred from voting under

California law. Id. at 27. Further, the Richardson plaintiffs, like the plaintiffs here,

claimed that California’s constitution failed the strict-scrutiny test. Id.

      In Richardson, the Supreme Court rejected that claim. The Court held that

Section 1’s Equal Protection Clause could not be read to prohibit the

disenfranchisement      of    felons   because        Section     2   approves    of     such

disenfranchisement by removing any electoral penalty for it. Richardson, 418 U.S.

at 54. Importantly, too, Richardson framed the issue as one presenting the “denial

of franchise” to felons who had “completed their sentence.” Id. at 33, 56 (emphasis

supplied).

      The Court held that “the exclusion of felons from the vote has an affirmative

sanction in § 2 of the Fourteenth Amendment.” Id. at 54 (emphasis supplied).

Moreover, that holding was “reflected in the express language of [Section] 2.” Id.

at 54 (emphasis supplied).

      Indeed, as this Court has recognized, “the specific holding of [Richardson]

was that a state may deny the franchise to that group of ‘convicted felons who have

completed their sentences and paroles.’” Shepherd, 575 F.2d at 1114 (quoting

Richardson, 418 U.S. at 56). Richardson and Shepherd are binding. Accordingly,

the district court appropriately rejected plaintiffs’ efforts to overrule them.




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      B.     As Richardson held, the “express language” of Section 2 of the
             Fourteenth Amendment provides an “affirmative sanction” for the
             “exclusion of felons from the vote.”

      As recognized by the district court, plaintiffs “know Richardson is a

problem.” ROA.19-60662.4876; see also ROA.19-60662.55 (plaintiffs’ complaint)

(conceding that their Fourteenth Amendment claim is asserted “for preservation

purposes”). Because of this, plaintiffs contend that Richardson incorrectly read

Section 2 of the Fourteenth Amendment, and then plaintiffs self-proclaim (over and

over) that they have a “novel” construction of that 150-year-old constitutional

provision. ROA.19-60662.459, 463, 465, 469, 470.

      But novel or not, plaintiffs’ reading of the law is wrong—which is why no

court has accepted it. Section 2 provides in relevant part:

      [W]hen the right to vote . . . is denied to any of the male inhabitants of
      such State, being twenty-one years of age, and citizens of the United
      States, or in any way abridged, except for participation in rebellion, or
      other crime, the basis of representation therein shall be reduced . . . .

U.S. CONST. amend. XIV, § 2 (emphasis supplied). As the district court put it,

Richardson “held that because Section 2 ‘affirmative[ly] sanction[ed]’ a state’s right

to deny the franchise based on a criminal conviction, doing so cannot violate Section

1 of that same amendment.” ROA.19-60662.4876 (quoting Richardson).

      According to plaintiffs, though, the Supreme Court’s construction of Section

2 was mistaken. Plaintiffs maintain that the phrase “except for participation in

rebellion, or other crime” modifies only the word “abridged” and not the word
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“denied.” Hopkins Br. at 47. But it is plaintiffs’ reading of the law that is

erroneous—not the Supreme Court’s.

      For starters, the modifying phrase “except for” is set off by a comma. Because

of this, it modifies all preceding phrases. See, e.g., Sobranes Recovery Pool I, LLC

v. Todd & Hughes Const. Corp., 509 F.3d 216, 221–23 (5th Cir. 2007) (noting that

when modifying language is “set off from the last item in the list by a comma, this

suggests that the modification applies to the whole list and not only the last item.”).

      For instance, the Fifth Amendment provides that no person shall “be deprived

of life, liberty, or property, without due process of law.” U.S. CONST. amend. V. The

comma before “without due process of law” indicates that the phrase modifies life,

liberty, and property. Todd, 509 F.3d at 223 n.19; see also 82 C.J.S. STATUTES § 443;

Robert J. Martineau & Michael B. Salerno, Legal, Legislative, and Rule Drafting in

Plain English 68 (2005); Stepnowski v. Commissioner, 456 F.3d 320, 324 n.7 (3d

Cir. 2006).

      To be sure, plaintiffs’ cited cases also demonstrate why their construction of

the law is erroneous. Hopkins Br. at 47. For instance, at issue in Lockhart v. United

States, 136 S.Ct. 958 (2016) was 18 U.S.C. § 2252(b)(2). That law imposes a ten-

year mandatory minimum sentence on a defendant convicted of possessing child

pornography if the defendant has a prior conviction “relating to aggravated sexual

abuse, sexual abuse, or abusive sexual conduct involving a minor or ward.” 18

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U.S.C. § 2252(b)(2). Under an application of the last-antecedent rule, the Court

determined that the modifier “involving a minor or ward” applies only to the term

that immediately precedes it. Id. at 965-66.

      Unlike Section 2 of the Fourteenth Amendment, though, the statute in

Lockhart does not contain a comma before the modifier “involving a minor or ward.”

In fact, the absence of a comma was one of the government’s primary arguments in

that case. See Br. of United States, 2015 WL 5302535, at *20 (2015) (“Congress has

given no textual clue, such as a comma before the modifier, indicating that the

modifier applies to all three of the preceding terms.”).

      Moreover, the Court in Lockhart reasoned that the modifier had to apply only

to the last phrase—any other reading of the statue would run “headlong into the rule

against superfluity by transforming a list of separate predicates into a set of

synonyms describing the same predicate.” Lockhart, 136 S.Ct. at 965-66. But only

the opposite is true with respect to Section 2 of the Fourteenth Amendment. Further,

in Section 2, there is only one “is,” and it joins “denied” and “abridged.” U.S. CONST.

amend. XIV, § 2 (“[W]hen the right to vote . . . is denied . . ., or in any way abridged,

except for participation in rebellion, or other crime,. . . .”) (emphasis supplied).

      Likewise, the authors of Reading Law, cited on page 47 of plaintiffs’ brief,

rely on the Supreme Court’s decision in Barnhart v. Thomas, 540 U.S. 20 (2003).

See Scalia & Garner, Reading Law: The Interpretation of Legal Texts § 18, p. 145

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(2012). In Barnhart, the Court considered a statute providing that an individual

qualifies as disabled if “he is not only unable to do his previous work but cannot,

considering his age, education, and work experience, engage in any other kind of

substantial gainful work which exists in the national economy.” Id. at 21-22. Like in

Lockhart, there was no comma setting off the phrase “which exists.”

      Lastly, Johnson v. Sayre, 158 U.S. 109 (1895) does not produce a different

result. That case construed the first clause of the Fifth Amendment: “No person shall

be held to answer for a capital, or otherwise infamous crime, unless on a presentment

or indictment of a Grand Jury, except in cases arising in the land or naval forces, or

in the Militia, when in actual service in time of War or public danger[.].” U.S.

CONST. amend. V.

      Johnson considered whether the final modifying phrase was applicable only

to its immediate antecedent phrase, or whether it was equally applicable to “land and

naval forces.” If it were the former, then all cases arising in the land or naval forces

could be prosecuted without grand jury action; if the latter, such cases would require

presentment or indictment except in time of war or public danger.

      The Court first determined that either reading of the law was “grammatically

possible.” Johnson, 158 U.S. at 113-14. However, in deciding that the phrase was

applicable only to the immediate antecedent phrase, the Court turned to context—

noting that the purpose of the “provision in question is to prevent persons not subject

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to the military law from being held to answer for a capital or otherwise infamous

crime without presentment or indictment by a grand jury.” Id. at 114.

      The Supreme Court in Richardson undertook a similar inquiry. That is, the

Court examined not only the “express language” of Section 2, but also looked to the

“understanding of those who adopted the Fourteenth Amendment,” including “the

historical and judicial interpretation of the Amendment’s applicability to state laws

disenfranchising felons[.]” Richardson, 418 U.S. at 54.

      The Court explained that “[f]urther light is shed…on the meaning of [Section]

2[ ] by the fact that at the time of the adoption of the Amendment, 29 States had

provisions in their constitutions which prohibited, or authorized the legislature to

prohibit, exercise of the franchise by persons convicted of felonies or infamous

crimes.” Id. at 48 (emphasis supplied); id. at 46 (quoting Representative Eckley); see

also Harvey, 605 F.3d at 1076 (“It would be remarkable if the many states ratifying

the Fourteenth Amendment intended to nullify their own constitutional

provisions[.]”); Hayden v. Pataki, 449 F.3d 305, 316 (2d Cir. 2006) (en banc)

(“[D]isenfranchising those convicted of crimes is of ancient origin.”); Johnson v.

Governor of State of Fla., 405 F.3d 1214, 1234 (11th Cir. 2005) (noting the

“prevalence of felon disenfranchisement [provisions] in every region of the country

since the Founding.”); Romer v. Evans, 517 U.S. 620, 634 (1996) (“that a convicted

felon may be denied the right to vote” remains “unexceptionable”).

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       Accordingly, while the holding in Richardson alone disposes of plaintiffs’

non-racial equal protection challenge to Section 241, plaintiffs’ textual argument

fails as well.

       Moreover, the arguments in the proposed amicus briefs also don’t improve

plaintiffs’ claim. Just two days before this brief was due, three amici moved for leave

to file briefs in this expedited appeal. Two of the three briefs—the American

Probation and Parole Association (“APPA”) and the Cato Institute—raise new

arguments that plaintiffs have never asserted.13

       Unlike plaintiffs, the Cato amici maintains that states can exclude felons from

suffrage—but only for “the most serious crimes.”14 Cato Br. at 4. This argument fails

under binding precedent.

       Richardson held that Section 2 provides an affirmative sanction for states to

disenfranchise all felons. Shepherd, 575 F.2d at 1114 (Richardson focused on “a

state’s power to disenfranchise persons convicted of a felony[.]”). Nevertheless, the



        13
            For this reason, and others, the Secretary will file oppositions to the amici’s motions.
See, e.g., Voices for Int’l Business and Education, Inc. v. NLRB, 905 F.3d 770, 775 n.6 (5th Cir.
2018) (“[W]e do not consider arguments raised by an amicus that the party it is supporting never
made.”).
         14
            Cato amici also complains that Mississippi (like some other states) only disenfranchises
for some, but not all, felonies. This is an argument plaintiffs never asserted. In any event, as this
Court in Shepherd held: “We do not read Richardson to hold that the realm of state discretion in
disenfranchising persons convicted of felonies is limited to the disenfranchisement of all felons or
none.” 575 F.2d at 1114; see also Harvey, 605 F.3d at 1074 (“[A] far better reference point for
determining whether a crime is serious is to look at how the crime is designated by the modern-
day legislature[.]”); id. at 1075 (“The judiciary should not substitute its judgment as to [the]
seriousness [of a crime] for that of a legislature[.]”) (citations and quotations omitted).
                                                 39
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Cato amici says that Section 2’s “other crime” language means only “a crime of

similar wrongfulness to the act of engaging in rebellion.” Cato Br. at 4.

      According to the Cato amici, “the phrase ‘other crime’ should be narrowed by

the clause’s use of the word ‘rebellion.’” Cato Br. at 11. But an amicus and the

respondent at oral argument in Richardson said the same thing. See Br. of ABA

Amicus, 1973 WL 172333, at *5 (Dec. 28, 1973) (“other crime” was “coupl[ed] with

participation in rebellion’”); id. at *19-20 (“other crime” “outlawed political

activities related to the rebellion”); Richardson v. Ramirez Oral Argument at 37:17-

38-18; 41:44-42:38 (respondent arguing that, in the “context” of Section 2, “other

crimes” means “other crimes related to the rebellion”) (January 15, 1974).15 Simply

put, the Richardson Court expressly rejected the Cato amici’s construction of

Section 2.

      Next, the APPA’s brief is riddled with misstatements. For instance, the APPA

incorrectly asserts that the Hopkins plaintiffs “do not object to automatic

disenfranchisement based on rape or murder[.]” APPA Br. at 6. Yes, the Hopkins

plaintiffs do. They contend that states may only “temporarily abridge” suffrage of

any felon, and their claim under the Eighth Amendment is a class action facial




       15
            Available at https://www.oyez.org/cases/1973/72-1589 (last visited Nov. 7, 2019).
                                               40
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challenge to felon disenfranchisement vel non. And those claims that plaintiffs

actually do bring fail.16

VII. PLAINTIFFS’ FACIAL CHALLENGE UNDER THE EIGHTH
     AMENDMENT TO SECTION 241 FAILS.

       Lastly, plaintiffs maintain that Section 241 facially violates the Eighth

Amendment. For many reasons, this is not so.

       A.      Because States may permanently disenfranchise felons under the
               Fourteenth Amendment, the Eighth Amendment does not prohibit
               States from permanently disenfranchising felons.

       Because “the exclusion of felons from the vote has an affirmative sanction in

§ 2 of the Fourteenth Amendment,” Richardson, 418 U.S. at 54, the Eighth

Amendment cannot be said to prohibit the exclusion of felons from the vote. The

district court correctly held that plaintiffs’ Eighth Amendment argument “conflicts

with [Section] 2 of the Fourteenth Amendment. Simply put, it would be internally

inconsistent for the Eighth Amendment to prohibit criminal disenfranchisement

while [Section] 2 of the Fourteenth Amendment permits it.” ROA.19-60662.4878

(citing Farrakhan v. Locke, 987 F. Supp. 1304, 1314 (E.D. Wash. 1997); see also


       16
           What’s worse, the APPA also wrongly argues that Section 241 is “premised on the intent
of the 1890 state legislature to disenfranchise black male voters.” APPA Br. at 6. However,
plaintiffs have never asserted a race-based equal protection challenge to disenfranchisement under
Section 241—and the APPA can’t raise that claim for plaintiffs on appeal. The APPA makes other
misstatements as well. For instance, they incorrectly claim that there are 161,159 disenfranchised
felons who have completed their sentence. APPA Br. at 7. That number is neither in the record nor
accurate—which is why plaintiffs don’t rely on it. Hopkins Br. at 8 (“Nearly 50,000 individuals
were convicted of disenfranchising offenses…More than 29,000 of these individuals have
completed their sentences.”).
                                               41
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El-Amin v. McDonnell, No. 3:12-cv-00538, 2013 WL 1193357, at *5–6 (E.D. Va.

Mar. 22, 2013).

       In so holding, the district court did not “mistakenly assume[ ] that the Eighth

Amendment’s standards are unchanging.” Hopkins Br. at 32-33. The Eighth

Amendment, and its corresponding standards, simply does not bar felony

disenfranchisement because the Fourteenth Amendment expressly sanctions it.17

       Felony disenfranchisement is not a transitory consequence that may become

constitutionally suspect simply by change in use or varying usage across the states.

Rather, disenfranchisement is sanctioned by Section 2 of the Fourteenth

Amendment. And the Eighth Amendment’s proscription of cruel and unusual

punishment is only applicable to the states by the Fourteenth Amendment. Robinson

v. State of California, 370 U.S. 660, 667 (1962).

       From the outset, then, whatever may be said of passing mores, and evolving

standards, the Constitution recognizes that states may disenfranchise persons

convicted of felonies. Richardson, 418 U.S. at 54; see also Cotton v. Fordice, 157

F.3d 388, 391 (5th Cir. 1998).




        17
           In footnote 6 of their brief, plaintiffs allege that the Secretary “acknowledges that
Section 241 might be cruel and unusual punishment for certain disenfranchising felonies.” This is
disingenuous. The Secretary’s position always has been that plaintiffs’ facial challenge under the
Eighth Amendment is a non-starter—even if their claim wasn’t otherwise barred.
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       B.     Plaintiffs’ Eighth Amendment challenge to Section 241 separately
              fails on its own terms.

       Plaintiffs’ Eighth Amendment claim additionally is precluded because felon

disenfranchisement is not “punishment” under the Eighth Amendment. See, e.g.,

Simmons v. Galvin, 575 F.3d 24, 43 (1st Cir. 2009) (“The Supreme Court has stated

that felon disenfranchisement provisions are considered regulatory rather than

punitive.”). Because disenfranchisement is not punishment, it cannot be cruel and

unusual punishment.

       In fact, in Trop v. Dulles, 356 U.S. 86 (1958), the plurality opinion used felon

disenfranchisement as an example of a restriction that is not punitive and would not

violate the Ex Post Facto Clause. Id. at 96-97; see also Smith v. Doe, 538 U.S. 84,

92 (2003); United States v. Salerno, 481 U.S. 739 (1987); Green, 380 F.2d at 450;

Farrakhan, 987 F. Supp. at 1314; Kronlund v. Honstein, 327 F. Supp. 71, 74 (N.D.

Ga. 1971) (three-judge court).

     The Supreme Court has identified several guideposts to evaluate whether a

particular law is punitive. Smith, 538 U.S. at 92; United States v. Under Seal, 709

F.3d 257, 263 (4th Cir. 2013). The test for whether a law imposes a “punishment”

for purposes of the Eighth Amendment proceeds in two steps.18



       18
         The test for “punishment” under the Eighth Amendment appears similar to the test for
“punishment” under the Ex Post Facto Clause. State v. Petersen-Beard, 377 P.3d 1127, 1130–31
(Kan. 2016); U.S. v. Under Seal, 709 F.3d 257, 263-66 (4th Cir. 2013).
                                             43
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     The test first looks to the legislature’s espoused intent: did the legislature intend

to impose punishment? Smith, 538 U.S. at 92. The second step is to determine

“whether the statutory scheme is so punitive either in purpose or effect as to negate

[the State’s] intention to deem it ‘civil.’” Id. (citation omitted) (alterations in Smith).

This “effects” analysis is governed by a range of considerations, often called the

“Mendoza-Martinez” factors. Smith, 538 U.S. at 97 (citing Kennedy v. Mendoza-

Martinez, 372 U.S. 144, 168–69 (1963)).

     Importantly, out of deference to state legislatures, “only the clearest proof will

suffice to override legislative intent and transform what has been denominated a civil

remedy into a criminal penalty.” Id. at 92 (citation omitted) (emphasis supplied).

Here, plaintiffs cannot satisfy the “clearest proof” burden—in fact, they don’t even

mention that burden in their brief.

     (i)     Step One: Did the legislature intend to impose punishment?

     Neither Section 241 nor the related statutes were intended by the Mississippi

Legislature to be “punishment” for purposes of the Eighth Amendment. Plaintiffs do

not actually contend otherwise. Instead, plaintiffs divert the focus to the

congressional acts that seated representatives from the former confederate states to

Congress in 1867-1870 after the Civil War. See Hopkins Br. at 34-35.

     Ten states, including Mississippi, have so-called Readmission Acts. In nearly

identical language, the Acts provided that, as a congressional term to readmission to

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Congress, state constitutions should not be “so amended or changed” as to deprive

citizens “of the right to vote who are entitled to vote” by the respective state

constitutions, “except as a punishment for such crimes as are now felonies at

common law[.]” See 16 Stat. 67 (1870) (Mississippi).

      Plaintiffs contend that this Act prohibits “Mississippi from enacting a criminal

disenfranchisement provision in its state constitution for any purpose other than

punishment.” Hopkins Br. at 34. Yet this contention misses the legal mark for at

least three reasons.

      First, plaintiffs’ argument is self-defeating because the Readmission Acts

provide that States can disenfranchise convicted felons. In fact, that is what the

Richardson Court said when referencing the Reconstruction/Readmission Acts.

Richardson, 418 U.S. at 49-53; Harvey, 605 F.3d at 1075-1078.

      Second, plaintiffs’ argument is illogical. According to plaintiffs, because

Congress utilized the word “punishment” in the Readmission Acts, the Eighth

Amendment prohibits what Section 2 of the Fourteenth Amendment and the

Readmission Acts affirmatively sanction. Worse still, accepting plaintiffs’ theory

would mean that the Eighth Amendment precludes for some states (i.e., states with

Readmission Acts) what Section 2 expressly sanctions for other states.19



         19
            Not only is this a plainly nonsensical and never-accepted interpretation, but it also falls
out of step with the principle of equal sovereignty. Shelby County v. Holder, 133 S.Ct. 2612 (2013).
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       Third, the inquiry is not the intent of the 1870 federal congressional

delegation. The determinative question is whether a state legislature intended to

impose punishment in passing the operative law. Smith, 538 U.S. at 92. And, under

this analysis, plaintiffs’ claim fails.

       Whether a statutory scheme is civil or criminal “is first of all a question of

statutory construction,” based on “the statute’s text and its structure.” Id. “Other

formal attributes of a legislative enactment, such as the manner of its codification or

the enforcement procedures it establishes, are [also] probative of the legislature’s

intent.” Id. at 94; accord Kansas v. Hendricks, 521 U.S. 346, 361 (1997).

       Section 241 of the Mississippi Constitution deals with qualifications for

electors. MISS. CONST. art. 12, § 241. Nothing in the text or structure indicates that

it is designed to punish. Instead, the text addresses the qualifications of voters

generally, and it treats felons the same way as those who are not competent, not of

age, and not U.S. citizens.

       Additionally, Section 241’s related statutory provisions are not in the criminal

code, they are in the part of the Mississippi Code that regulates elections—Title 23.

See MISS. CODE ANN. § 23-15-11 (qualification of electors); § 23-15-19 (persons

convicted of disenfranchising crimes); § 23-15-21 (noncitizens). In short, then, the

Legislature did not intend the challenged laws to punish for purposes of the Eighth

Amendment.

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       (ii)    Step two:       Is the statutory scheme so punitive either in purpose or
                               effect as to negate the State’s intention to deem it civil?

       In the rare case, a regulatory scheme that is not intended as punishment may

be so restrictive and harsh as to impose punishment in fact. Here, a court considers

whether the regulatory scheme: “has been regarded in our history and traditions as a

punishment; imposes an affirmative disability or restraint; promotes the traditional

aims of punishment; has a rational connection to a nonpunitive purpose; or is

excessive with respect to this purpose.” Smith, 538 U.S. at 97.20 Under this test,

disenfranchisement is non-punitive.

       History       and      traditions.      Historically      and      traditionally,      felon

disenfranchisement is a nonpunitive restriction. As discussed, the plurality opinion

in Trop used felon disenfranchisement as an example of a restriction that is not

punitive. 356 U.S. at 96-97; Simmons, 575 F.3d at 45.

       Further, no court has found disenfranchisement laws violate the Eighth

Amendment. Green, 380 F.2d at 450; Kronlund, 327 F. Supp. at 74; Thiess v. State

Admin, 387 F. Supp. 1038 (D. Md. 1974); Fincher v. Scott, 352 F. Supp. 117

(M.D.N.C. 1972); Farrakhan, 987 F. Supp. at 1314; King v. City of Boston,



         20
            Two final factors—which receive “little weight”—ask whether the regulation is
triggered only upon a finding of scienter and whether the behavior to which the regulation applies
is already a crime. Smith, 538 U.S. at 105. Plaintiffs concede that Section 241 is effective
regardless of a finding of scienter. ROA.19-60662.3126 (noting though that “most” of the offenses
require scienter). That Section 241 may be “tied to criminal activity” is “insufficient to render the
statut[e] punitive.” United States v. Ursery, 518 U.S. 267, 291 (1996); Simmons, 575 F.3d at 45.
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CIV.A.04-10156-RWZ, 2004 WL 1070573, at *1 (D. Mass. May 13, 2004);

Simmons v. Galvin, 652 F. Supp. 2d 83, 93 (D. Mass. 2007); Johnson v. Bredesen,

624 F.3d 742, 753–54 (6th Cir. 2010); Perry-Bey v. Holder, 2:14-cv-359, 2015 WL

11120509, at *2 (E.D. Va. Mar. 24, 2015).

      Imposition of affirmative disability or restraint. Felon disenfranchisement

imposes “no physical restraint, and so does not resemble the punishment of

imprisonment, which is the paradigmatic affirmative disability or restraint.” Smith,

538 U.S. at 100.

      In fact, Mississippi’s challenged constitutional section and related statutes

impose no affirmative obligation at all—much less any physical restraint. See id.

“[T]here is a critical distinction between recognizing that a particular consequence

might follow—nearly automatically—from a criminal conviction and classifying

that consequence as a sanction intended to punish a noncitizen for that criminal

activity.” Hinds v. Lynch, 790 F.3d 259, 265–66 (1st Cir. 2015).

      Indeed, as discussed, a host of non-penal consequences flow indelibly from a

felony conviction. “The mere fact that a criminal conviction triggers a consequence

has never been the operative test to determine whether that consequence is punitive

or otherwise implicates the cruel and unusual punishment clause, the double

jeopardy clause, the ex post facto clause, or any other constitutional

protection.” Hinds, 790 F.3d at 265-66.

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       Lastly, the Mississippi ACLU and NAACP also have moved for leave to file

an amicus brief and contend that disenfranchisement is an “affirmative disability.”

They cite to the Southern District of Mississippi’s decision in McLaughlin v. City of

Canton, Miss., 947 F. Supp. 954 (S.D. Miss. 1995). ACLU Br. at 4. Yet while finding

disenfranchisement to be “harsh[ ],” the McLaughlin court also found it to be a “civil

sanction.” Id. at 971.

       The ACLU amicus brief also largely makes policy arguments concerning

felony disenfranchisement.21 These policy arguments are addressed to the wrong

forum. See Richardson, 418 U.S. at 55 (explaining that the Court “would by no

means discount these [policy] arguments if addressed to the legislative forum which

may properly weigh and balance them”).

       Traditional aims of punishment. Felon disenfranchisement does not promote

the traditional aims of punishment. As the Supreme Court stated, “[a]ny number of

governmental programs might deter crime without imposing punishment.” Smith,

538 U.S. at 102.




        21
            Additionally, the ACLU makes an argument regarding the right to vote for
administrative bodies, such as “school boards.” ACLU Br. at 4, 7. As noted in footnote 11, there
is no fundamental right to elect an administrative body such as a school board. For example, in
Mississippi, municipal school districts generally have appointed school boards. MISS. CODE ANN.
§ 37-7-203.
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      Thus, that a statute may have a deterrent effect does not necessarily mean it

amounts to criminal punishment. Id.; Simmons, 575 F.3d at 45. And, as explained

below, disenfranchisement is rationally connected to a nonpunitive purpose.

      Nonpunitive purpose. Felon disenfranchisement is rationally connected to a

nonpunitive purpose, which is the “‘most significant’ factor in our determination that

the statute’s effects are not punitive.” Smith, 538 U.S. at 102; id. at 87.

      As this Court put it, “[a] state properly has an interest in excluding from the

franchise persons who have manifested a fundamental antipathy to the criminal laws

of the state or of the nation by violating those laws sufficiently important to be

classed as felonies.” Shepherd, 575 F.2d at 1115. Indeed, felon disenfranchisement

is based on the philosophy of republican government and theory of social compact.

Green, 380 F.2d at 451-52; Wesley v. Collins, 791 F.2d 1255 (6th Cir. 1986). All in

all, then, even if plaintiffs’ Eighth Amendment claim wasn’t barred for other

reasons, felon disenfranchisement does not constitute cruel and unusual punishment

for Eighth Amendment purposes.

      C.     The district court otherwise correctly dismissed plaintiffs’ Eighth
             Amendment claim.

      Plaintiffs’ facial challenge brought under the Eighth Amendment fails for

other reasons as well. The Eighth Amendment proscribes only “inherently barbaric

punishments” such as torture and punishments that are “grossly disproportionate.”

United States v. Gurule, 461 F.3d 1238, 1247 (10th Cir. 2006); United States v.
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Johnson, 451 F.3d 1239, 1243 (11th Cir. 2006); Ewing v. California, 538 U.S. 11,

20 (2003). Here, there are many reasons why plaintiffs’ claim of “cruel and unusual”

punishment fails.

      First, plaintiffs attempt to analytically link felon disenfranchisement laws to

the “punishment” inflicted by the death penalty. Hopkins Br. at 42. That is an

unfitting comparison. Take Atkins v. Virginia, 536 U.S. 304 (2002) for example—

cited on page 42 of plaintiffs’ brief. In that case, the Court held that the execution

of a “mentally retarded offender” is an unconstitutional excessive punishment. But,

as is clear from Atkins and others, it is not the death penalty vel non that constitutes

cruel and unusual punishment—it is the manner in which it is exercised or to whom

it is applied (e.g., mentally retarded offenders, juveniles).

      Felon disenfranchisement has an affirmative sanction in Section 2 of the

Fourteenth Amendment. So, the question in the death penalty context should and

does differ greatly from that of disenfranchisement. As for the death penalty, it is

“punishment” that the Constitution does not expressly authorize or preclude—the

question then being does the Eighth Amendment prevent the manner in which the

punishment is exercised. With disenfranchisement, even if it was punishment per the

Eighth Amendment (which it is not), the Constitution expressly sanctions it.

      Relatedly, plaintiffs bring a facial challenge to Section 241. However, to bring

a successful facial challenge, plaintiffs must prove that the law could be valid “under

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no set of circumstances.” Salerno, 481 U.S. at 745. Yet it cannot legitimately be

argued that disenfranchisement is so grossly disproportionate so as to violate the

Eighth Amendment as to violent offenses, such as murder and rape. Indeed, that

wouldn’t make any sense at all, as individuals may be executed and/or serve life

sentences for those types of offenses.

      Thus, even under plaintiffs’ otherwise incorrect theory, it is axiomatic that the

offense would matter for purposes of a facial challenge. Yet plaintiffs wrongly

conjoin all disqualifying felony offenses, even though the class members in this class

action will have committed a wide range of disenfranchising felonies—or multiple

of them. Consequently, plaintiffs fall woefully short of satisfying Salerno’s “no set

of circumstances” burden.

      Worse still, plaintiffs evaluate felony disenfranchisement as if it is a “one size

fits all” regime. But it is not. The manner in which states draw the line on

disenfranchisement and reenfranchisement vary in a number of respects. The

following chart, which was updated as of October 2018 and provided in the

Secretary’s summary judgment memoranda, provides a basic synopsis:




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ROA.19-60662.4277, 4092-4143, 4144-4247.22

   States thus vary significantly with felon disenfranchisement laws:

    Some states do not prohibit voting during incarceration.

    Some prohibit voting during the period of incarceration and during parole or
     probation.



        22
           After this chart was updated in October 2018, Florida passed a constitutional amendment
to restore suffrage to some felons after completion of their sentences. Those convicted of murder
or a felony sexual offense must still apply to the governor for voting rights restoration on a case-
by-case basis. Further, it appears that Colorado restores voting rights to individuals on parole, and
Nevada restores voting rights to those released from prison and discharged from probation.
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    Some permanently prohibit some or all convicted felons from voting, absent
     a pardon or an individual restoration of rights.

    Some laws apply different restrictions depending on the crime of conviction.

    And some states apply different restrictions depending on the defendant’s
     criminal history.

      Further, not all states fit into a single category because the state has a mixed

process, such as distinguishing between first-felony offenders and repeat offenders

or between offenses or waiting periods for some offenses. ROA.19-60662.4277-

4278, 4092-4143, 4144-4247. To add another layer to the mix, Mississippi only

disenfranchises for certain felonies—not all felonies. Therefore, in Mississippi,

some individuals who commit non-disqualifying felonies never lose the right to

vote—during incarceration or otherwise.

      All told, then, felon disenfranchisement laws across the states do not fit into a

single category or consensus. There is no “national consensus”—let alone enough

of a consensus to somehow conclude that the Eighth Amendment overrides Section

2 of the Fourteenth Amendment. Indeed, even if the Eighth Amendment were

implicated, where would the Court draw the line?

      For example:

    Is it cruel and unusual to permanently disenfranchise for the most violent
     crimes, such as murder and/or rape?

    Is it cruel and unusual to permanently disenfranchise for election or voter
     related offenses or embezzling public funds?

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    Is it cruel and unusual to disenfranchise all felony convictions while
     incarcerated and/or during incarceration and the term of the sentence?
     Does the state need to classify only certain felonies, as Mississippi has
     done? If so, which ones?

    Is it cruel and unusual to not permanently disenfranchise for first time
     offenders, but to permanently disenfranchise for repeat offenders?

    Is it cruel and unusual to disenfranchise beyond the term of the sentence
     by having a waiting period? How long may a waiting period be?

    Is it cruel and unusual to disenfranchise until completion of the sentence—
     if the completion of the sentence includes requiring the convicted felon to
     be current on all obligations to victims, legal fees, and child support, such
     as in Tennessee?

      What’s more, plaintiffs’ Eighth Amendment theory inevitably calls into

question other disabilities due to felony convictions—such as firearm rights and jury

rights. ROA.19-60662.4144-4247. That is, if disenfranchisement is barred despite

Section 2 of the Fourteenth Amendment sanctioning it, then why wouldn’t other

disabilities due to felony convictions also be prohibited—such as the loss of firearm

rights that are protected by the Second Amendment?

      Because plaintiffs’ Eighth Amendment claim fails at earlier stages in the

analysis, this Court need not answer—or even ask—such questions. But the

questions further illustrate why plaintiffs’ Eighth Amendment claim is inherently

flawed and fails from the start.




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VIII. EVEN IF PLAINTIFFS WERE ENTITLED TO SUMMARY
      JUDGMENT, WHICH THEY ARE NOT, THE REQUESTED RELIEF
      STILL MUST BE DENIED.

      For their Section 241 claims, plaintiffs’ complaint seeks to “enjoin the

Defendant from denying any Mississippi citizen the right to register to vote[.]”

ROA.19-60662.60. However, even if plaintiffs had proven an entitlement to

summary judgment, plaintiffs still would not be automatically entitled to their broad-

based and immediate relief request. See ROA.19-60662.4303-4306.

      One reason is, in voting-related cases, this Court has noted that courts should

proceed with “caution” when exercising “injunctive powers before trial on the

merits.” Chisom v. Roemer, 853 F.2d 1186, 1192 (5th Cir. 1988). This Court

explained that states should be given an opportunity to fix defective laws: “It is now

established beyond challenge that upon finding a particular standard, practice, or

procedure to be contrary to either a federal constitutional or statutory requirement,

the federal court must grant the appropriate state or local authorities an opportunity

to correct the deficiencies.” Id.

      Relatedly, even if plaintiffs were to prevail on summary judgment as to

Section 253, they are not entitled to any immediate relief. Indeed, the State’s greater

power to permanently discontinue vote-restoration processes includes the lesser

power to temporarily discontinue vote-restoration processes—until the State

determines whether, when, and how to put a new vote-restoration system in place.

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      A federal court order commanding a State Legislature to promulgate a

discretionary state policy as to vote restoration—i.e., a policy not required by federal

law—would contravene horizontal and vertical separation-of-powers principles.

That is, a federal court may not direct federal policymakers to promulgate a

discretionary federal policy—i.e., a policy not required by federal law. See, e.g.,

Greater L.A. Council on Deafness, Inc. v. Cmty. Television of S. Cal., 719 F.2d 1017,

1023 (9th Cir. 1983); accord INS v. Legalization Assistance Project, 510 U.S. 1301,

1305–06 (1993) (O’Connor, J., in chambers); Heckler v. Rosebud Hosp. Dist., 473

U.S. 1308, 1313 (1985) (Rehnquist, J., in chambers). A fortiori, federal courts may

not require state policymakers to promulgate a discretionary state policy. Murphy v.

Nat’l Collegiate Athletic Ass’n, 138 S.Ct. 1461, 1479 (U.S. May 14, 2018).

      While the Court should never reach the issue of what remedy plaintiffs may

be entitled to, if the Court ever must address that issue, it should defer to the

Mississippi Legislature to modify the State’s felon disenfranchisement and

reenfranchisement laws.

                                   CONCLUSION

      The Fifth Circuit should affirm the district court’s dismissal of plaintiffs’

constitutional challenges to Article 12, Section 241 of the Mississippi Constitution,

it should affirm the district court’s dismissal of plaintiffs’ non-racial equal protection

and First Amendment challenges to Article 12, Section 253.

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      However, the plaintiffs’ race-based equal protection challenge to Section 253

fails as a matter of law. This Court should thus reverse and remand the district court’s

decision as to plaintiffs’ race-based equal protection challenge to Section 253, with

instructions to dismiss plaintiffs’ lawsuit in its entirety and enter a judgment in

conformity with Federal Rule of Civil Procedure 23(c)(3)(A).

                                        Respectfully submitted,

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                            CERTIFICATE OF SERVICE

      I, Krissy C. Nobile, certify that I electronically filed this brief with the Clerk

of the Court, using the electronic filing system, which sent notification of such filing

to all counsel of record.


      Dated: November 12, 2019.

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